                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE MIDDLE DISTRICT OF TENNESSEE
                                        NASHVILLE DIVISION



UNITED STATES OF AMERICA,                          )
                                                   )
      Plaintiff,                                   )
                                                   )
v.                                                 )       No. 3:11-cr-00012
                                                   )
ROBERT PORTER, et al.                              )
                                                   )
      Defendants.                                  )


                                                 ORDER



        I hereby recuse myself in this case as to Defendants Robert Porter (1), Brian Vance (3), Shatika Dix

(6), Lamont Cotton (11), Demetrius Duncan (14), Jerry Dinkins (16), Cornel Oliver (21), Alto Parnell (22),

James Farley, Jr. (25), and Chris Young (27) set for trial April 23, 2013 and Defendant Quinice Cross (10)

severed and set for trial on July 18, 2013. The file is returned to the Clerk of Court for reassignment of

those defendants to another judge.

        It is so ORDERED.




                                                   Thomas A. Wiseman, Jr.
                                                   Senior U.S. District Judge




Case 3:11-cr-00012           Document 1265             Filed 09/28/12      Page 1 of 1 PageID #: 6383
